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                         UNITED STATES DISTRICT COURT

                              DISTRICT OF MINNESOTA

Terry Nelson and Gary Larson, as Trustees of                          Case No. 09-CV-1429
the Painters and Allied Trades District Counsel                                 (PJS/SRN)
No. 82 Health Care Fund and the Painters and                          Case No. 09-CV-2406
Allied Trades District Counsel No. 82                                           (PJS/SRN)
Vacation Fund; Terry Nelson and William
Grimm, as Trustees of the Minneapolis Local
386 Drywall Finishing Industry Pension Fund;
Terry Nelson and Gary Larson, as Trustees of
the Minneapolis Paining Industry Pension
Fund; Terry Nelson and Robert Swanson, as
Trustees of the Minnesota Finishing Trades
Training Funds; and each of their successors,

Terry Nelson and John Nakasone, as Trustees         DEFENDANTS’ RESPONSE TO
of the St. Paul Painting Industry Pension Fund;      PLAINTIFFS’ MOTION FOR
and each of their successors,                         SUMMARY JUDGMENT

      Plaintiffs,

vs.

Spectrum Custom Designs, Inc. and Jorge
Restrepo, individually,

      Defendants.


      Defendants Spectrum Custom Designs, Inc., and Jorge Restrepo (collectively,

“Defendants”) submit this response to Plaintiffs’ Motion for Summary Judgment to

inform the Court that Defendants do not oppose the Motion. Accordingly, Defendants

will work with Plaintiffs to enter into a stipulation for judgment to be submitted for the

Court’s consideration.
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Dated: April 29, 2011                  s/ Leah C. Janus
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                                       Steven Z. Kaplan (#53739)
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